Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 1 of 63




                      EXHIBIT O
          Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 2 of 63




                            FREEDOM OF INFORMATION ACT APPEAL

April 29, 2021

Director, Office of the Executive Secretariat
U.S. Food & Drug Administration
5630 Fishers Lane
Room 1050
Rockville, MD 20857
Email: FDAFOIA@fda.hhs.gov

Re: Appeal of FOIA Request Nos. 2019-4472, 2019-4465, 2019-4457, 2019-4455, and 2019-
4428

Dear FOIA Appeals Officer,

        We, the Yale Law School Media Freedom & Information Access Clinic, represent Dr. G.
Caleb Alexander in connection with the above-captioned requests under the Freedom of
Information Act (“FOIA”), 5 U.S.C. 552 et seq. This letter constitutes an administrative appeal
of the U.S. Food and Drug Administration (“FDA”)’s constructive denial of Dr. Alexander’s
requests.

   I.          Factual and Procedural History

        On May 21, 2019, Dr. Alexander submitted six FOIA requests to the FDA. True and
correct copies of these requests are attached as Exhibits A-F.

       These requests sought records relating to the FDA’s decision to impose, modify, retain, or
terminate Risk Evaluation and Mitigation Strategy (REMS) requirements for six drugs:
zolpidem, varenicline, prasugrel, mifepristone, clopidogrel, and salmeterol-fluticasone. These
requests identified specific time periods for responsive records.

       On May 22, 2019, Dr. Alexander received an email from FDA_FOI@fda.gov
acknowledging receipt of his salmeterol-fluticasone request. On May 23, 2019, Dr. Alexander
received emails from FDA_FOI@fda.gov acknowledging receipt of his mifepristone,
clopidogrel, prasugrel, zolpidem, and varenicline requests. True and correct copies of these
emails are attached as Exhibits G-L. These emails assigned Dr. Alexander’s requests the
following reference numbers:



        P. O . B O X   208215,   N E W H AV E N , C O N N EC T I C U T   06520-8215 •        FA C S I M I L E   203 432-3034
                          COURI ER ADDR ESS        127    W A L L S T R E E T , N E W H AV E N , C T   06511
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 3 of 63



                                                                                       Page 2 of 4
   •   Zolpidem: 2019-4472
   •   Prasugrel: 2019-4465
   •   Mifepristone: 2019-4457
   •   Clopidogrel: 2019-4455
   •   Salmeterol-Fluticasone: 2019-4428
   •   Varenicline: 2019-4458

These emails specified that the FDA “will respond as soon as possible” to Dr. Alexander’s
requests and provided no indication that the FDA could not respond to them within the statutory
deadline.

       The FDA failed to respond to Dr. Alexander’s requests within the statutory deadline. So
in August 2019, Dr. Alexander contacted the Center for Drug Evaluation and Research
(“CDER”) FOIA Office via telephone regarding the FDA’s delay. The CDER FOIA Office told
Dr. Alexander that his mifepristone request was in the fourth or fifth position in the complex
queue and that a response might be expected within a matter of weeks or months.

        On August 17, 2020, the FDA responded to Dr. Alexander’s varenicline request. The
FDA’s cover letter to its August 17, 2020 response did not state that the FDA had withheld any
documents in their entirety. Most of the documents it provided were publicly available. The FDA
also did not provide several documents Dr. Alexander specifically requested. Missing from the
production were, among other documents:

   •   “FDA’s initial evaluation assessing whether a REMS is needed for varenicline”;
   •   “the May 2008 FDA letter to Pfizer requiring a REMS and issuing a post marketing
       requirement for a clinical trial”;
   •   “[t]he 18-month [REMS Assessment] Report submitted [by Pfizer] in or around April
       2011”;
   •   “the 3-year [REMS Assessment] Report submitted [by Pfizer] in or around October
       2012”;
   •   “the 7-year [REMS Assessment] Report submitted [by Pfizer] in or around October
       2016”;
   •   “Pfizer’s proposed modifications, including elimination, to the approved REMS plan . . .
       including those submitted on November 8, 2013 and September 3, 2014”; and
   •   “FDA’s review of Pfizer’s 18 Month Report, 3 Year Report, and 7 Year Report.”

On November 17, 2020, Dr. Alexander administratively appealed the FDA’s response to his
varenicline request.

        On November 18, 2020, the FDA acknowledged receipt of Dr. Alexander’s administrative
appeal to the FDA’s determination on his varenicline request and assigned it appeal file number
21-0006AA. The FDA specified that “[p]ursuant to 5 U.S.C. § 552(a)(6)(B)(i) and 5 U.S.C. §
552(a)(6)(B)(iii) of the FOIA and 45 C.F.R. 5.24(f) of the HHS FOIA regulations, [Dr.
Alexander’s] appeal falls under the ‘unusual circumstances’ in that our office will need to consult
         Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 4 of 63



                                                                                         Page 3 of 4
with another office that has substantial interest in the determination of the appeal. The actual
processing time will depend on the complexity of the issues presented in the appeal.”

        On November 20, 2020, the FDA emailed Dr. Alexander, indicating that “CDER is going
to reopen [Dr. Alexander’s] request for processing” and asking whether Dr. Alexander “[w]ould
like to withdraw the appeal until CDER sends another response with new appeal rights or keep it
open.” On November 22, 2020, Dr. Alexander responded to this email and indicated that he
“would like to continue to keep the appeal that [he] ha[d] filed open.”

        By February 2021, the FDA had not responded to Dr. Alexander’s zolpidem, prasugrel,
mifepristone, clopidogrel, and salmeterol-fluticasone requests, and had neither provided
additional documents for Dr. Alexander’s varenicline request nor responded to his appeal. Thus,
on February 26, 2021, we contacted Sudarshini Satchi, CDER Freedom of Information Branch
Chief, to again bring the delay in the FDA’s response to the agency’s attention and prompt the
FDA to produce responsive documents. On March 3, 2021, Guruprasad Udapi, a Supervisory
Government Information Specialist at CDER, responded to our email, noting that CDER
responds to requests in “date order priority” and that there were approximately 200 FOIA
requests with priority over Dr. Alexander’s requests. Mr. Udapi estimated that it would take 24
months to process complex requests like those of Dr. Alexander. A true and correct copy of this
email exchange is attached as Exhibit M.

        On March 11, 2021, we responded to Mr. Udapi requesting a call to discuss how to
resolve the delay in processing Dr. Alexander’s requests. The FDA did not respond to this email.
A true and correct copy of this email is attached as Exhibit N.

        On March 22, 2021, we sent a second email to Mr. Udapi requesting a call to discuss how
to resolve the delay in processing Dr. Alexander’s requests, particularly in light of the FDA’s
shifting and inconsistent positions on how long it would take to respond to them. The FDA did
not respond to this email. A true and correct copy of this email is attached as Exhibit O.

       The FDA still has not responded to Dr. Alexander’s zolpidem, prasugrel, mifepristone,
clopidogrel, and salmeterol-fluticasone requests submitted in May 2019, and has neither
provided additional documents for Dr. Alexander’s varenicline request nor responded to his
November 2020 administrative appeal.

   II.     Argument

         FOIA requires agencies to “make a determination” on any request within twenty business
days of its receipt. 5 U.S.C. § 552(a)(6)(A)(i). This determination “must be more than just an
initial statement that the agency will generally comply with a FOIA request and will produce
non-exempt documents and claim exemptions in the future.” Citizens for Resp. & Ethics in Wash.
v. Fed. Election Comm’n, 711 F.3d 180, 188 (D.C. Cir. 2013). The agency “must at least (i)
gather and review the documents; (ii) determine and communicate the scope of the documents it
intends to produce and withhold, and the reasons for withholding any documents; and (iii)
inform the requester that it can appeal whatever portion of the ‘determination’ is adverse.” Id.
          Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 5 of 63



                                                                                       Page 4 of 4

         In this case, the FDA failed to make a “determination” concerning Dr. Alexander’s
zolpidem, prasugrel, mifepristone, clopidogrel, and salmeterol-fluticasone requests. The FDA
acknowledged receipt of Dr. Alexander’s salmeterol-fluticasone request on May 22, 2019 and his
zolpidem, prasugrel, mifepristone, and clopidogrel requests on May 23, 2019. Dr. Alexander still
has not received responses to these requests, more than 700 days later. The FDA is in violation of
its statutory duties under FOIA. See 5 U.S.C. § 552(a)(6)(A)(i), (B)(i).

   III.     Conclusion

        By failing to provide a determination with respect to Dr. Alexander’s zolpidem, prasugrel,
mifepristone, clopidogrel, and salmeterol-fluticasone requests within the statutory deadline, the
FDA is in violation of its obligations under FOIA. Dr. Alexander respectfully requests that you
direct the agency to make a determination with respect to Dr. Alexander’s zolpidem, prasugrel,
mifepristone, clopidogrel, and salmeterol-fluticasone requests as soon as possible, but in any
case no more than twenty business days from the date this administrative appeal is received. 5
U.S.C. § 552(a)(6)(A)(ii).

       If you have any questions regarding these appeals, please do not hesitate to call me at
(520) 488-0486 or email me at stephen.stich@ylsclinics.org. I look forward to your response.

                                             Sincerely,



                                             Stephen Stich
                                             Media Freedom and Information Access Clinic
                                             Yale Law School
                                             P.O. Box 208215
                                             New Haven, CT 06520-8215
                                             (520) 488-0486
                                             stephen.stich@ylsclinics.org
Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 6 of 63




                      EXHIBIT A
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 7 of 63




May 21, 2019

Food and Drug Administration
Division of Freedom of Information
Office of Shared Services
Office of Public Information and Library Services
12420 Parklawn Drive
ELEM-1029
Rockville, MD 20857

Re:    FREEDOM OF INFORMATION ACT REQUEST

To Whom It May Concern:

My name is Caleb Alexander. I am a Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health. This letter constitutes a request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records related to the FDA REMS program
related to zolpidem.

                                          Background

Risk Evaluation and Mitigation Strategies (REMS) of the Food and Drug Administration (FDA)
represent an important regulatory tool that the FDA uses to optimize the safe use of approved
therapeutics. As with any risk evaluation and mitigation program, the success of the REMS
depends critically upon the quality and comprehensiveness of data that is used to guide regulatory
decision-making. While the FDA has taken important steps during the past decade to increase
transparency regarding some elements of REMS programs, remarkably little is known regarding
the assessments that manufacturers of specific therapeutics have performed, or how these
assessments have been evaluated and used by the FDA to iteratively improve risk mitigation of
specific products. I will use this FOIA request to generate fundamental new knowledge in the
public domain regarding the adequacy of regulatory oversight of prescription drugs through the
REMS program, a topic that I believe will be of high interest to policy-makers, researchers and the
general public alike.

This request concerns the REMS for a particular drug, zolpidem, marketed under the brand name
Zolpimist by Aytu BioScience (“Aytu”) and under the brand name Edluar by Meda
Pharmaceuticals (“Meda”). Zolpimist (Oral Spray) and Edluar (sublingual tablets) were subject
to a product-specific REMS from 2008 to 2011 that required a medication guide. The REMS was
instituted because of the complex sleep-related behaviors and severe anaphylactic reactions
associated with using these zolpidem products. I am interested in the Zolpidem REMS documents
to study the rationale that led to the FDA’s decision to release zolpidem from its REMS and to
        Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 8 of 63



better understand why Zolpimist and Edluar were subject to a REMS while other products in its
class (e.g. Ambien) were not.


                                     Requested Records

I seek release of the following:

Any records relating to the REMS for zolpidem(Zolpimist/Edluar) from 2007 through 2013
including:
       1. All correspondence between the FDA and Aytu, Meda or any NDA for zolpidem
           (Zolpimist, Eluar) and any other manufacturers of this product including:
               a. FDA’s initial evaluation assessing whether a REMS is needed for zolpidem
               b. FDA’s written correspondence explaining that a REMS is necessary
               c. Aytu’s, Meda’s and any other manufactuer of this product’s proposed REMS
                   plans, as described in the FDA’s Draft Guidance “Format and Content of
                   Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
               d. Aytu’s, Meda’s and any other manufactuer of this product’s REMS supporting
                   documents, as described in the FDA’s Draft Guidance “Format and Content of
                   Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
               e. FDA’s evaluation of the proposed REMS plan
               f. FDA’s evaluation of the proposed supporting document
               g. Aytu’s, Meda’s and any other manufactuer of this product’s proposed
                   modifications, including elimination, to the approved REMS plan
               h. FDA’s correspondence to Aytu and/or Meda and/or and any other
                   manufactuer of this product approving or denying the modifications, including
                   elimination, to the approved REMS plan
               i. Any explanations by the FDA regarding their final decision about the REMS
                   plan
       2. All REMS Assessment Reports submitted by Aytu, Meda and any other manufactuer
           of this product to the FDA, including:
               a. The first Assessment Report submitted due on September 13, 2010
               b. The Interim Assessment with Patient KAB due on June 11, 2011,
               c. Any safety surveillance, drug utilization, and distribution monitoring data
                   submitted as part of a REMS Assessment Report
       3. All FDA reviews of REMS Assessment Reports returned to Aytu, Meda and any
           other manufactuer of this produc between December 2008 and September 2011.
       4. Any FDA REMS Modification Review reports sent to Aytu, Meda and any other
           manufactuer of this product between December 2008 and September 2011 including
           the October 2010 review
       5. The FDA’s evaluation assessing whether a REMS is needed for zolpidem, including
           any FDA memoranda, and the written information used by FDA in the assessment,
           including any data.




                                               2
        Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 9 of 63



       6. Any subsequent communication between the FDA and Aytu and/or Meda and/or and
          any other manufactuer of this product relating to all of the above


I request that all of these documents be produced in their native electronic formats with any
attached metadata included, so long as such electronic files can be opened using standard
commercially available software. If the files cannot be produced in this manner, I request that
records be produced in an alternative electronic format that is text-searchable. With respect to
databases, spreadsheets or similar organized sets of data, I request that the records be produced
in .xls or .csv format. See 5 U.S.C. § 552(a)(3)(B).


                              Application for Expedited Processing

I request expedited processing for this request pursuant to 5 U.S.C. § 552(a)(6)(E) and 21 C.F.R.
§ 20.44(a)(2).

Expedited processing is appropriate here because a compelling need exists for the disclosure of
the requested information. Shedding light on FDA’s internal processes for instituting (and
releasing) REMS is likely to have significant public health benefits, thereby reducing threats to
the life or physical safety of all individuals using FDA-approved drugs. The public interest is
heightened because REMS are implemented for unusually dangerous drugs where there is a
concern “to ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-
1. Clinicians, researchers, and the public at large will benefit from prompt access to the
requested information, to ensure that the zolpidem REMS and other REMS function well and
that patients are not being harmed by REMS that are over- or underprotective.

Pursuant to 5 U.S.C. § 552(a)(6)(E)(vi) and 21 C.F.R. § 20.44(a)(2), I certify that the information
in this request concerning the reasons for expedited processing is true and correct to the best of
my knowledge and belief.


                                 Application for Waiver of Fees

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) and 21 C.F.R. § 20.46, I request waiver of fees incurred
in connection with searching and copying in responding this request. I am requesting the waiver
on the grounds that disclosure of the requested information is in the public interest because it is
likely to contribute significantly to public understanding of the operations and activities of the
government and is not primarily in the commercial interest of the requester.


Disclosure is in the public interest:

Disclosure is in the public interest pursuant to 21 CFR § 20.46(b)(1) and (2) because this request
will shed light into operations or activities of the FDA that are not already public knowledge. As
noted above in the Background section, while the FDA has taken important steps during the past



                                                 3
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 10 of 63



decade to increase transparency regarding some elements of REMS programs, remarkably little
is known about how REMS programs are developed, implemented, and monitored, including
regarding the assessments that manufacturers of specific therapeutics have performed, or how
these assessments have been evaluated and used by the FDA to iteratively improve risk
mitigation of specific products. I will use this FOIA request to generate fundamental new
knowledge in the public domain regarding the adequacy of regulatory oversite of prescription
drugs through the REMS program, a topic that I believe will be of high interest to policy-makers,
researchers and the general public alike.

The circumstances surrounding the FDA’s decision to create a REMS for zolpidem are not public
knowledge. As noted above in the Background section, I am interested in the Zolpidem REMS
documents to study the rationale that led to the FDA’s decision to release zolpidem from its REMS
and to better understand why Zolpimist and Edluar were subject to a REMS while other products
in its class (e.g. Ambien) were not.

Disclosure is also in the public interest pursuant to 21 CFR § 20.46(b)(3) and (4) because I plan
to disseminate the information I obtain from this request to the public through publication in
widely distributed, high-impact, peer-reviewed medical and public health journals, as well as
other media. I have an established track record of such publications, including publications
based on FOIA requests to FDA. Exemplary high-impact publications based on my
investigations include
    • Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
        FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
        Fentanyl Products. JAMA. 2019;321(7):676–685. doi:10.1001/jama.2019.0235
    • Moore TJ, Zhang H, Anderson G, Alexander GC. Estimated Costs of Pivotal Trials for
        Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
        2016. JAMA Intern Med. 2018;178(11):1451–1457.
        doi:10.1001/jamainternmed.2018.3931
    • Qato DM, Alexander GC. Post-Marketing Drug Safety and the Food and Drug
        Administration’s Risk Evaluation and Mitigation Strategies. JAMA. 2011;306:1595-1596.


The requester has no commercial interest in the information sought:

I have no commercial interest in the information sought. 45 C.F.R. § 5.54(b)(3). I am not in the
business of developing or selling new drugs or biologics, and I do not stand to make a profit from
the disclosure of the requested information. I have no commercial interest in these records, but
rather I aim to facilitate and conduct rigorous, objective, and fair evaluation of the information
sought in furtherance of public knowledge and public health.

For these reasons, a public interest waiver of fees is appropriate here. I therefore respectfully
request that all fees related to the search, review, and duplication of the requested records be
waived. If the search and review fees will not be waived, I ask that you contact me at the email
address listed below should the estimated fees resulting from this request exceed $100.




                                                4
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 11 of 63



                                           Conclusion

Pursuant to applicable statutes and regulations, I anticipate a determination regarding expedited
processing within 10 days. See 5 U.S.C. § 552(a)(6)(E)(ii); 21 C.F.R. § 20.44(a)(2).

If my request is denied in whole or in part, please justify all withholdings and redactions by
reference to specific FOIA exemptions. I expect the release of all segregable portions of
otherwise exempt material, see 5 U.S.C. § 552(b), and reserve the right to appeal a decision to
withhold any information or deny a waiver of fees.

Thank you for your prompt attention to this matter. Please direct communications and furnish the
applicable records to:

G. Caleb Alexander, MD, MS
Johns Hopkins Bloomberg School of Public Health
Department of Epidemiology
615 N. Wolfe Street W6035
Baltimore, MD 21205
Phone: 410 955 8168
Fax: 410 955 0863
Email: galexan9@jhmi.edu

Please communicate any questions you may have by phone or email, rather than regular mail.
Also, if the requested records cannot be provided by email, please notify me as soon as they are
available and I will consider arranging to collect them by courier to avoid additional delay.

Your prompt attention to this request is greatly appreciated.

Respectfully,




G. Caleb Alexander, MD, MS
Professor of Epidemiology and Medicine




                                                 5
Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 12 of 63




                      EXHIBIT B
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 13 of 63




May 21, 2019

Food and Drug Administration
Division of Freedom of Information
Office of Shared Services
Office of Public Information and Library Services
12420 Parklawn Drive
ELEM-1029
Rockville, MD 20857

Re:    FREEDOM OF INFORMATION ACT REQUEST

To Whom It May Concern:

My name is Caleb Alexander. I am a Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health. This letter constitutes a request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records related to the FDA REMS program
related to prasugrel.

                                          Background

Risk Evaluation and Mitigation Strategies (REMS) of the Food and Drug Administration (FDA)
represent an important regulatory tool that the FDA uses to optimize the safe use of approved
therapeutics. As with any risk evaluation and mitigation program, the success of the REMS
depends critically upon the quality and comprehensiveness of data that is used to guide regulatory
decision-making. While the FDA has taken important steps during the past decade to increase
transparency regarding some elements of REMS programs, remarkably little is known regarding
the assessments that manufacturers of specific therapeutics have performed, or how these
assessments have been evaluated and used by the FDA to iteratively improve risk mitigation of
specific products. I will use this FOIA request to generate fundamental new knowledge in the
public domain regarding the adequacy of regulatory oversight of prescription drugs through the
REMS program, a topic that I believe will be of high interest to policy-makers, researchers and the
general public alike.

This request concerns the REMS for a particular drug, prasugrel, marketed under the brand name
Effient by Eli Lilly (“Lilly”). Effient (Prasugrel) was subject to a REMS from 2009 to 2012 that
included a medication guide and a communication plan. The basis for this product-specific REMS
was to mitigate the risk of major bleeding associated with Effient. After the REMS was
discontinued, the FDA maintained the requirement for a medication guide. We are interested in
the Prasugrel REMS documents to study the rationale that led to the FDA’s decision to release
Prasugrel from its REMS and to evaluate how effective the medication guide is, and the
communication plan was, at mitigating risks associated with Effient.
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 14 of 63



                                       Requested Records

I seek release of the following:

Any records relating to the REMS for prasugrel (Effient) from 2008 to 2014 including:
       1. All correspondence between the FDA and Lilly and any other manufacturer of this
          product including:
              a. FDA’s initial evaluation assessing whether a REMS is needed for prasugrel
              b. FDA’s written correspondence explaining that a REMS is necessary
              c. Lilly’s and any other manufacturer of this product’s proposed REMS plan, as
                   described in the FDA’s Draft Guidance “Format and Content of Proposed
                   Risk Evaluation and Mitigation Strategies (REMS), REMS Assessments, and
                   Proposed REMS Modifications”
              d. Lilly’s and any other manufacturer of this product’s REMS supporting
                   document, as described in the FDA’s Draft Guidance “Format and Content of
                   Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
              e. FDA’s evaluation of the proposed REMS plan
              f. FDA’s evaluation of the proposed supporting document
              g. Lilly’s and any other manufacturer of this product’s proposed modifications,
                   including elimination, to the approved REMS plan
                        i. including the proposed modified REMS submitted on June 15, 2011
              h. FDA’s correspondence to Lilly and any other manufacturer of this product
                   approving or denying the modifications, including elimination, to the
                   approved REMS plan
              i. Any explanations by the FDA regarding their final decision about the REMS
                   plan
       2. All REMS Assessment Reports submitted by Lilly and any other manufacturer of this
          product to the FDA, including:
              a. The REMS Assessment Report due January 31, 2011
              b. Any safety surveillance, drug utilization, and distribution monitoring data
                   submitted as part of a REMS Assessment Report
       3. All FDA reviews of REMS Assessment Reports returned to Lilly and any other
          manufacturer of this product, including an review of the report due January 31, 2011
       4. Any FDA REMS Modification Review reports sent to Lilly and any other
          manufacturer of this product between July 2009 and March 2012, including those
          approved on April 16, 2010 and December 6, 2010
       5. The FDA’s evaluation assessing whether a REMS is needed for prasugrel, including
          any FDA memoranda, and the written information used by FDA in the assessment,
          including any data.
       6. Any subsequent communication between the FDA and Lilly and any other
          manufacturer of this product relating to all of the above


I request that all of these documents be produced in their native electronic formats with any
attached metadata included, so long as such electronic files can be opened using standard



                                                2
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 15 of 63



commercially available software. If the files cannot be produced in this manner, I request that
records be produced in an alternative electronic format that is text-searchable. With respect to
databases, spreadsheets or similar organized sets of data, I request that the records be produced
in .xls or .csv format. See 5 U.S.C. § 552(a)(3)(B).


                              Application for Expedited Processing

I request expedited processing for this request pursuant to 5 U.S.C. § 552(a)(6)(E) and 21 C.F.R.
§ 20.44(a)(2).

Expedited processing is appropriate here because a compelling need exists for the disclosure of
the requested information. Shedding light on FDA’s internal processes for instituting (and
releasing) REMS is likely to have significant public health benefits, thereby reducing threats to
the life or physical safety of all individuals using FDA-approved drugs. The public interest is
heightened because REMS are implemented for unusually dangerous drugs where there is a
concern “to ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-
1. Clinicians, researchers, and the public at large will benefit from prompt access to the
requested information, to ensure that the prasugrel REMS and other REMS function well and
that patients are not being harmed by REMS that are over- or underprotective.

Pursuant to 5 U.S.C. § 552(a)(6)(E)(vi) and 21 C.F.R. § 20.44(a)(2), I certify that the information
in this request concerning the reasons for expedited processing is true and correct to the best of
my knowledge and belief.


                                 Application for Waiver of Fees

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) and 21 C.F.R. § 20.46, I request waiver of fees incurred
in connection with searching and copying in responding this request. I am requesting the waiver
on the grounds that disclosure of the requested information is in the public interest because it is
likely to contribute significantly to public understanding of the operations and activities of the
government and is not primarily in the commercial interest of the requester.


Disclosure is in the public interest:

Disclosure is in the public interest pursuant to 21 CFR § 20.46(b)(1) and (2) because this request
will shed light into operations or activities of the FDA that are not already public knowledge. As
noted above in the Background section, while the FDA has taken important steps during the past
decade to increase transparency regarding some elements of REMS programs, remarkably little
is known about how REMS programs are developed, implemented, and monitored, including
regarding the assessments that manufacturers of specific therapeutics have performed, or how
these assessments have been evaluated and used by the FDA to iteratively improve risk
mitigation of specific products. I will use this FOIA request to generate fundamental new
knowledge in the public domain regarding the adequacy of regulatory oversite of prescription



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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 16 of 63



drugs through the REMS program, a topic that I believe will be of high interest to policy-makers,
researchers and the general public alike.

The circumstances surrounding the FDA’s decision to create a REMS for prasugrel are not public
knowledge. As noted above in the Background section, I am interested in the Prasugrel REMS
documents to study the rationale that led to the FDA’s decision to release Prasugrel from its REMS
and to evaluate how effective the medication guide is, and the communication plan was, at
mitigating risks associated with Effient.

Disclosure is also in the public interest pursuant to 21 CFR § 20.46(b)(3) and (4) because I plan
to disseminate the information I obtain from this request to the public through publication in
widely distributed, high-impact, peer-reviewed medical and public health journals, as well as
other media. I have an established track record of such publications, including publications
based on FOIA requests to FDA. Exemplary high-impact publications based on my
investigations include
    • Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
        FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
        Fentanyl Products. JAMA. 2019;321(7):676–685. doi:10.1001/jama.2019.0235
    • Moore TJ, Zhang H, Anderson G, Alexander GC. Estimated Costs of Pivotal Trials for
        Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
        2016. JAMA Intern Med. 2018;178(11):1451–1457.
        doi:10.1001/jamainternmed.2018.3931
    • Qato DM, Alexander GC. Post-Marketing Drug Safety and the Food and Drug
        Administration’s Risk Evaluation and Mitigation Strategies. JAMA. 2011;306:1595-1596.


The requester has no commercial interest in the information sought:

I have no commercial interest in the information sought. 45 C.F.R. § 5.54(b)(3). I am not in the
business of developing or selling new drugs or biologics, and I do not stand to make a profit from
the disclosure of the requested information. I have no commercial interest in these records, but
rather I aim to facilitate and conduct rigorous, objective, and fair evaluation of the information
sought in furtherance of public knowledge and public health.

For these reasons, a public interest waiver of fees is appropriate here. I therefore respectfully
request that all fees related to the search, review, and duplication of the requested records be
waived. If the search and review fees will not be waived, I ask that you contact me at the email
address listed below should the estimated fees resulting from this request exceed $100.


                                           Conclusion

Pursuant to applicable statutes and regulations, I anticipate a determination regarding expedited
processing within 10 days. See 5 U.S.C. § 552(a)(6)(E)(ii); 21 C.F.R. § 20.44(a)(2).




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 17 of 63



If my request is denied in whole or in part, please justify all withholdings and redactions by
reference to specific FOIA exemptions. I expect the release of all segregable portions of
otherwise exempt material, see 5 U.S.C. § 552(b), and reserve the right to appeal a decision to
withhold any information or deny a waiver of fees.

Thank you for your prompt attention to this matter. Please direct communications and furnish the
applicable records to:

G. Caleb Alexander, MD, MS
Johns Hopkins Bloomberg School of Public Health
Department of Epidemiology
615 N. Wolfe Street W6035
Baltimore, MD 21205
Phone: 410 955 8168
Fax: 410 955 0863
Email: galexan9@jhmi.edu

Please communicate any questions you may have by phone or email, rather than regular mail.
Also, if the requested records cannot be provided by email, please notify me as soon as they are
available and I will consider arranging to collect them by courier to avoid additional delay.

Your prompt attention to this request is greatly appreciated.

Respectfully,




G. Caleb Alexander, MD, MS
Professor of Epidemiology and Medicine




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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 18 of 63




                      EXHIBIT C
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 19 of 63




May 21, 2019

Food and Drug Administration
Division of Freedom of Information
Office of Shared Services
Office of Public Information and Library Services
12420 Parklawn Drive
ELEM-1029
Rockville, MD 20857

Re:    FREEDOM OF INFORMATION ACT REQUEST

To Whom It May Concern:

My name is Caleb Alexander. I am a Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health. This letter constitutes a request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records related to the FDA REMS program
related to Mifepristone.

                                           Background

Risk Evaluation and Mitigation Strategies (REMS) of the Food and Drug Administration (FDA)
represent an important regulatory tool that the FDA uses to optimize the safe use of approved
therapeutics. As with any risk evaluation and mitigation program, the success of the REMS
depends critically upon the quality and comprehensiveness of data that is used to guide regulatory
decision-making. While the FDA has taken important steps during the past decade to increase
transparency regarding some elements of REMS programs, remarkably little is known regarding
the assessments that manufacturers of specific therapeutics have performed, or how these
assessments have been evaluated and used by the FDA to iteratively improve risk mitigation of
specific products. I will use this FOIA request to generate fundamental new knowledge in the
public domain regarding the adequacy of regulatory oversight of prescription drugs through the
REMS program, a topic that I believe will be of high interest to policy-makers, researchers and the
general public alike.

This request concerns the REMS for a particular drug, mifepristone, marketed under the brand
name Mifeprex by Danco Laboratories. Mifeprex (Mifepristone) has been subject to one of the
most restrictive REMS since 2011; the REMS has included Elements to Assure Safe Use
(ETASU). The basis for this REMS is to ensure that Mifeprex is only prescribed by REMS-
certified prescribers, that it is only dispensed in approved settings and that patients are informed
of the risks, including bleeding, infection, and ectopic pregnancy, associated with taking Mifeprex.
I am interested in: (1) the rationale for mandating the REMS, specifically as an ETASU; (2) how
safety of Mifeprex (Mifepristone) has been monitored since the REMS was implemented; and (3)
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 20 of 63



what safety concerns, if any, have been discovered that support the continuation of this restrictive
REMS. Mifepristone is of significant public health importance given its FDA-approved indication
for use, in combination with misoprostol, to safely terminate early pregnancies.


                                       Requested Records

I seek release of the following:

Any records relating to the REMS for Mifepristone/Mifeprex/RU-486 from 2010 to present
including:
       1. All correspondence between the FDA and Danco Laboratories and any other
           manufacturers of this product including:
               a. FDA’s initial evaluation assessing whether a REMS is needed for
                   Mifepristone
               b. FDA’s written correspondence explaining that a REMS is necessary
               c. Danco Laboratories’ and any other manufacturers of this product’s proposed
                   REMS plan, as described in the FDA’s Draft Guidance “Format and Content
                   of Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
               d. Danco Laboratories’ and any other manufacturers of this product’s REMS
                   supporting document, as described in the FDA’s Draft Guidance “Format and
                   Content of Proposed Risk Evaluation and Mitigation Strategies (REMS),
                   REMS Assessments, and Proposed REMS Modifications”
               e. FDA’s evaluation of the proposed REMS plan
               f. FDA’s evaluation of the proposed supporting document
               g. Danco Laboratories’ and any other manufacturers of this product’s proposed
                   modifications, including elimination, to the approved REMS plan
               h. FDA’s correspondence to Danco Laboratories and any other manufacturers of
                   this product approving or denying the modifications, including elimination, to
                   the approved REMS plan
               i. Any explanations by the FDA regarding their final decision about the REMS
                   plan
       2. All REMS Assessment Reports submitted by Danco Laboratories and any other
           manufacturers of this product to the FDA, including:
               a. The 1-year Report submitted in 2012, the 4-year Report submitted in 2015,
                   and the 7-year Report submitted in 2018.
               b. Any safety surveillance, drug utilization, and distribution monitoring data
                   submitted as part of a REMS Assessment Report
       3. All FDA reviews of REMS Assessment Reports returned to Danco Laboratories and
           any other manufacturers of this product
       4. Any FDA REMS Modification Review reports sent to Danco Laboratories and any
           other manufacturers of this product since June 2011
       5. The FDA’s evaluation assessing whether a REMS is needed for mifepristone,
           including any FDA memoranda, and the written information used by FDA in the
           assessment, including any data.



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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 21 of 63



       6. Any subsequent communication between the FDA and Danco Laboratories and any
          other manufacturers of this product relating to all of the above

I request that all of these documents be produced in their native electronic formats with any
attached metadata included, so long as such electronic files can be opened using standard
commercially available software. If the files cannot be produced in this manner, I request that
records be produced in an alternative electronic format that is text-searchable. With respect to
databases, spreadsheets or similar organized sets of data, I request that the records be produced
in .xls or .csv format. See 5 U.S.C. § 552(a)(3)(B).

                              Application for Expedited Processing

I request expedited processing for this request pursuant to 5 U.S.C. § 552(a)(6)(E) and 21 C.F.R.
§ 20.44(a)(2).

Expedited processing is appropriate here because a compelling need exists for the disclosure of
the requested information. Shedding light on FDA’s internal processes for instituting (and
releasing) REMS is likely to have significant public health benefits, thereby reducing threats to
the life or physical safety of all individuals using FDA-approved drugs. The public interest is
heightened because REMS are implemented for unusually dangerous drugs where there is a
concern “to ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-
1. Clinicians, researchers, and the public at large will benefit from prompt access to the
requested information, to ensure that the Mifepristone REMS and other REMS function well and
that patients are not being harmed by REMS that are over- or underprotective.

Pursuant to 5 U.S.C. § 552(a)(6)(E)(vi) and 21 C.F.R. § 20.44(a)(2), I certify that the information
in this request concerning the reasons for expedited processing is true and correct to the best of
my knowledge and belief.

                                 Application for Waiver of Fees

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) and 21 C.F.R. § 20.46, I request waiver of fees incurred
in connection with searching and copying in responding this request. I am requesting the waiver
on the grounds that disclosure of the requested information is in the public interest because it is
likely to contribute significantly to public understanding of the operations and activities of the
government and is not primarily in the commercial interest of the requester.


Disclosure is in the public interest:

Disclosure is in the public interest pursuant to 21 CFR § 20.46(b)(1) and (2) because this request
will shed light into operations or activities of the FDA that are not already public knowledge. As
noted above in the Background section, while the FDA has taken important steps during the past
decade to increase transparency regarding some elements of REMS programs, remarkably little
is known about how REMS programs are developed, implemented, and monitored, including
regarding the assessments that manufacturers of specific therapeutics have performed, or how



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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 22 of 63



these assessments have been evaluated and used by the FDA to iteratively improve risk
mitigation of specific products. I will use this FOIA request to generate fundamental new
knowledge in the public domain regarding the adequacy of regulatory oversite of prescription
drugs through the REMS program, a topic that I believe will be of high interest to policy-makers,
researchers and the general public alike.

The circumstances surrounding the FDA’s decision to create a REMS for mifepristone are not
public knowledge. As noted above in the Background section, I and the public at large are
interested in: (1) the rationale for mandating the REMS, specifically as an ETASU; (2) how safety
of Mifeprex (Mifepristone) has been monitored since the REMS was implemented; and (3) what
safety concerns, if any, have been discovered that support the continuation of this restrictive
REMS. Mifepristone is of significant public health importance given its FDA-approved indication
for use, in combination with misoprostol, to safely terminate early pregnancies.

Disclosure is also in the public interest pursuant to 21 CFR § 20.46(b)(3) and (4) because I plan
to disseminate the information I obtain from this request to the public through publication in
widely distributed, high-impact, peer-reviewed medical and public health journals, as well as
other media. I have an established track record of such publications, including publications
based on FOIA requests to FDA. Exemplary high-impact publications based on my
investigations include
    • Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
        FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
        Fentanyl Products. JAMA. 2019;321(7):676–685. doi:10.1001/jama.2019.0235
    • Moore TJ, Zhang H, Anderson G, Alexander GC. Estimated Costs of Pivotal Trials for
        Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
        2016. JAMA Intern Med. 2018;178(11):1451–1457.
        doi:10.1001/jamainternmed.2018.3931
    • Qato DM, Alexander GC. Post-Marketing Drug Safety and the Food and Drug
        Administration’s Risk Evaluation and Mitigation Strategies. JAMA. 2011;306:1595-1596.


The requester has no commercial interest in the information sought:

I have no commercial interest in the information sought. 45 C.F.R. § 5.54(b)(3). I am not in the
business of developing or selling new drugs or biologics, and I do not stand to make a profit from
the disclosure of the requested information. I have no commercial interest in these records, but
rather I aim to facilitate and conduct rigorous, objective, and fair evaluation of the information
sought in furtherance of public knowledge and public health.

For these reasons, a public interest waiver of fees is appropriate here. I therefore respectfully
request that all fees related to the search, review, and duplication of the requested records be
waived. If the search and review fees will not be waived, I ask that you contact me at the email
address listed below should the estimated fees resulting from this request exceed $100.




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 23 of 63



                                           Conclusion

Pursuant to applicable statutes and regulations, I anticipate a determination regarding expedited
processing within 10 days. See 5 U.S.C. § 552(a)(6)(E)(ii); 21 C.F.R. § 20.44(a)(2).

If my request is denied in whole or in part, please justify all withholdings and redactions by
reference to specific FOIA exemptions. I expect the release of all segregable portions of
otherwise exempt material, see 5 U.S.C. § 552(b), and reserve the right to appeal a decision to
withhold any information or deny a waiver of fees.

Thank you for your prompt attention to this matter. Please direct communications and furnish the
applicable records to:

G. Caleb Alexander, MD, MS
Johns Hopkins Bloomberg School of Public Health
Department of Epidemiology
615 N. Wolfe Street W6035
Baltimore, MD 21205
Phone: 410 955 8168
Fax: 410 955 0863
Email: galexan9@jhmi.edu

Please communicate any questions you may have by phone or email, rather than regular mail.
Also, if the requested records cannot be provided by email, please notify me as soon as they are
available and I will consider arranging to collect them by courier to avoid additional delay.

Your prompt attention to this request is greatly appreciated.

Respectfully,




G. Caleb Alexander, MD, MS
Professor of Epidemiology and Medicine




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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 24 of 63




                      EXHIBIT D
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 25 of 63




May 21, 2019

Food and Drug Administration
Division of Freedom of Information
Office of Shared Services
Office of Public Information and Library Services
12420 Parklawn Drive
ELEM-1029
Rockville, MD 20857

Re:    FREEDOM OF INFORMATION ACT REQUEST

To Whom It May Concern:

My name is Caleb Alexander. I am a Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health. This letter constitutes a request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records related to the FDA REMS program
related to clopidogrel (Plavix).

                                           Background

Risk Evaluation and Mitigation Strategies (REMS) of the Food and Drug Administration (FDA)
represent an important regulatory tool that the FDA uses to optimize the safe use of approved
therapeutics. As with any risk evaluation and mitigation program, the success of the REMS
depends critically upon the quality and comprehensiveness of data that is used to guide regulatory
decision-making. While the FDA has taken important steps during the past decade to increase
transparency regarding some elements of REMS programs, remarkably little is known regarding
the assessments that manufacturers of specific therapeutics have performed, or how these
assessments have been evaluated and used by the FDA to iteratively improve risk mitigation of
specific products. I will use this FOIA request to generate fundamental new knowledge in the
public domain regarding the adequacy of regulatory oversight of prescription drugs through the
REMS program, a topic that I believe will be of high interest to policy-makers, researchers and the
general public alike.

This request concerns the REMS for a particular drug, clopidogrel, marketed under the brand name
Plavix by Bristol-Myers Squibb (“BMS”). Clopidogrel (Plavix) was subject to a product-specific
REMS from February 2011 to May 2011 following evidence from post-marketing trials that found
that Plavix lost its anti-platelet effects when used with drugs that inhibit cytochrome P450 2C19.
Given the short duration of this REMS, we are interested in what data was submitted, if any, before,
during or after the release of the REMS that would support its release.
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 26 of 63



                                       Requested Records
I seek release of the following:

Any records relating to the REMS for clopidogrel (Plavix) from 2010 to 2013 including:
       1. All correspondence between the FDA and BMS and any other manufacturers of this
          product including:
              a. FDA’s initial evaluation assessing whether a REMS is needed for clopidogrel
              b. FDA’s written correspondence explaining that a REMS is necessary
              c. BMS’s or any other manufacturer of clopidogrel’s proposed REMS plan, as
                   described in the FDA’s Draft Guidance “Format and Content of Proposed
                   Risk Evaluation and Mitigation Strategies (REMS), REMS Assessments, and
                   Proposed REMS Modifications”
              d. BMS’s or any other manufacturer of clopidogrel’s REMS supporting
                   document, as described in the FDA’s Draft Guidance “Format and Content of
                   Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
              e. FDA’s evaluation of the proposed REMS plan
              f. FDA’s evaluation of the proposed supporting document
              g. BMS’s proposed modifications, including elimination, to the approved REMS
                   plan
              h. FDA’s correspondence to BMS or any other manufacturer of clopidogrel
                   approving or denying the modifications, including elimination, to the
                   approved REMS plan
              i. Any explanations by the FDA regarding their final decision about the REMS
                   plan
       2. All REMS Assessment Reports submitted by BMS or any other manufacturer of
          clopidogrel to the FDA, including
              a. Any safety surveillance, drug utilization, and distribution monitoring data
                   submitted as part of a REMS Assessment Report
       3. All FDA reviews of REMS Assessment Reports returned to BMS
       4. Any FDA REMS Modification Review reports sent to BMS or any other
          manufacturer of clopidogrel between February 2011 and May 2011
       5. The FDA’s evaluation assessing whether a REMS is needed for clopidogrel,
          including any FDA memoranda, and the written information used by FDA in the
          assessment, including any data
       6. Any subsequent communication between the FDA and BMS or any other
          manufacturer of clopidogrel relating to all of the above


I request that all of these documents be produced in their native electronic formats with any
attached metadata included, so long as such electronic files can be opened using standard
commercially available software. If the files cannot be produced in this manner, I request that
records be produced in an alternative electronic format that is text-searchable. With respect to
databases, spreadsheets or similar organized sets of data, I request that the records be produced
in .xls or .csv format. See 5 U.S.C. § 552(a)(3)(B).




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 27 of 63



                              Application for Expedited Processing

I request expedited processing for this request pursuant to 5 U.S.C. § 552(a)(6)(E) and 21 C.F.R.
§ 20.44(a)(2).

Expedited processing is appropriate here because a compelling need exists for the disclosure of
the requested information. Shedding light on FDA’s internal processes for instituting (and
releasing) REMS is likely to have significant public health benefits, thereby reducing threats to
the life or physical safety of all individuals using FDA-approved drugs. The public interest is
heightened because REMS are implemented for unusually dangerous drugs where there is a
concern “to ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-
1. Clinicians, researchers, and the public at large will benefit from prompt access to the
requested information, to ensure that the clopidogrel REMS and other REMS function well and
that patients are not being harmed by REMS that are over- or underprotective.

Pursuant to 5 U.S.C. § 552(a)(6)(E)(vi) and 21 C.F.R. § 20.44(a)(2), I certify that the information
in this request concerning the reasons for expedited processing is true and correct to the best of
my knowledge and belief.


                                 Application for Waiver of Fees

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) and 21 C.F.R. § 20.46, I request waiver of fees incurred
in connection with searching and copying in responding this request. I am requesting the waiver
on the grounds that disclosure of the requested information is in the public interest because it is
likely to contribute significantly to public understanding of the operations and activities of the
government and is not primarily in the commercial interest of the requester.

Disclosure is in the public interest:

Disclosure is in the public interest pursuant to 21 CFR § 20.46(b)(1) and (2) because this request
will shed light into operations or activities of the FDA that are not already public knowledge. As
noted above in the Background section, while the FDA has taken important steps during the past
decade to increase transparency regarding some elements of REMS programs, remarkably little
is known about how REMS programs are developed, implemented, and monitored, including
regarding the assessments that manufacturers of specific therapeutics have performed, or how
these assessments have been evaluated and used by the FDA to iteratively improve risk
mitigation of specific products. I will use this FOIA request to generate fundamental new
knowledge in the public domain regarding the adequacy of regulatory oversite of prescription
drugs through the REMS program, a topic that I believe will be of high interest to policy-makers,
researchers and the general public alike.

The circumstances surrounding the FDA’s decision to create a REMS for Plavix are not public
knowledge. As noted above in the Background section, I am interested in the Plavix REMS
documents to study the rationale that led to the FDA’s decision to release Plavix from its REMS




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 28 of 63



after only 3 months. Given the short duration of this REMS, we are interested in what data was
submitted, if any, before, during or after the release of the REMS that would support its release.

Disclosure is also in the public interest pursuant to 21 CFR § 20.46(b)(3) and (4) because I plan
to disseminate the information I obtain from this request to the public through publication in
widely distributed, high-impact, peer-reviewed medical and public health journals, as well as
other media. I have an established track record of such publications, including publications
based on FOIA requests to FDA. Exemplary high-impact publications based on my
investigations include
    • Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
        FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
        Fentanyl Products. JAMA. 2019;321(7):676–685. doi:10.1001/jama.2019.0235
    • Moore TJ, Zhang H, Anderson G, Alexander GC. Estimated Costs of Pivotal Trials for
        Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
        2016. JAMA Intern Med. 2018;178(11):1451–1457.
        doi:10.1001/jamainternmed.2018.3931
    • Qato DM, Alexander GC. Post-Marketing Drug Safety and the Food and Drug
        Administration’s Risk Evaluation and Mitigation Strategies. JAMA. 2011;306:1595-1596.


The requester has no commercial interest in the information sought:

I have no commercial interest in the information sought. 45 C.F.R. § 5.54(b)(3). I am not in the
business of developing or selling new drugs or biologics, and I do not stand to make a profit from
the disclosure of the requested information. I have no commercial interest in these records, but
rather I aim to facilitate and conduct rigorous, objective, and fair evaluation of the information
sought in furtherance of public knowledge and public health.

For these reasons, a public interest waiver of fees is appropriate here. I therefore respectfully
request that all fees related to the search, review, and duplication of the requested records be
waived. If the search and review fees will not be waived, I ask that you contact me at the email
address listed below should the estimated fees resulting from this request exceed $100.


                                           Conclusion

Pursuant to applicable statutes and regulations, I anticipate a determination regarding expedited
processing within 10 days. See 5 U.S.C. § 552(a)(6)(E)(ii); 21 C.F.R. § 20.44(a)(2).

If my request is denied in whole or in part, please justify all withholdings and redactions by
reference to specific FOIA exemptions. I expect the release of all segregable portions of
otherwise exempt material, see 5 U.S.C. § 552(b), and reserve the right to appeal a decision to
withhold any information or deny a waiver of fees.

Thank you for your prompt attention to this matter. Please direct communications and furnish the
applicable records to:


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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 29 of 63




G. Caleb Alexander, MD, MS
Johns Hopkins Bloomberg School of Public Health
Department of Epidemiology
615 N. Wolfe Street W6035
Baltimore, MD 21205
Phone: 410 955 8168
Fax: 410 955 0863
Email: galexan9@jhmi.edu

Please communicate any questions you may have by phone or email, rather than regular mail.
Also, if the requested records cannot be provided by email, please notify me as soon as they are
available and I will consider arranging to collect them by courier to avoid additional delay.

Your prompt attention to this request is greatly appreciated.

Respectfully,




G. Caleb Alexander, MD, MS
Professor of Epidemiology and Medicine




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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 30 of 63




                      EXHIBIT E
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 31 of 63




May 21, 2019

Food and Drug Administration
Division of Freedom of Information
Office of Shared Services
Office of Public Information and Library Services
12420 Parklawn Drive
ELEM-1029
Rockville, MD 20857

Re:    FREEDOM OF INFORMATION ACT REQUEST

To Whom It May Concern:

My name is Caleb Alexander. I am a Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health. This letter constitutes a request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records related to the FDA REMS program
related to fluticasone propionate and salmeterol (Advair).

                                          Background

Risk Evaluation and Mitigation Strategies (REMS) of the Food and Drug Administration (FDA)
represent an important regulatory tool that the FDA uses to optimize the safe use of approved
therapeutics. As with any risk evaluation and mitigation program, the success of the REMS
depends critically upon the quality and comprehensiveness of data that is used to guide regulatory
decision-making. While the FDA has taken important steps during the past decade to increase
transparency regarding some elements of REMS programs, remarkably little is known regarding
the assessments that manufacturers of specific therapeutics have performed, or how these
assessments have been evaluated and used by the FDA to iteratively improve risk mitigation of
specific products. I will use this FOIA request to generate fundamental new knowledge in the
public domain regarding the adequacy of regulatory oversight of prescription drugs through the
REMS program, a topic that I believe will be of high interest to policy-makers, researchers and the
general public alike.

This request concerns the REMS for a particular drug, fluticasone propionate and salmeterol,
marketed under the brand name Advair by GlaxoSmithKline (“GSK”). Advair (salmeterol-
fluticasone) is the most commonly used LABA (long acting beta agonist) that had a REMS
consisting of both a medication guide and communication plan implemented in 2008 and released
in 2012. The basis for this product-specific REMS was to mitigate the risk of pneumonia and
asthma related death associated with Advair use. I am interested in REMS documents to study the
rationale that led to the FDA’s decision to release Advair from its REMS but maintain a boxed
warning on Advair’s label until it was removed in 2017.
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 32 of 63



                                    Requested Records

I seek release of the following:

Any records relating to the REMS for Advair from 2007 to 2014 including:
       1. All correspondence between the FDA and GSK and any other manufacturers of this
          product including:
              a. FDA’s initial evaluation assessing whether a REMS is needed for Advair
              b. FDA’s written correspondence explaining that a REMS is necessary
              c. GSK’s and any other manufacturers of this product’s proposed REMS plan, as
                   described in the FDA’s Draft Guidance “Format and Content of Proposed
                   Risk Evaluation and Mitigation Strategies (REMS), REMS Assessments, and
                   Proposed REMS Modifications”
              d. GSK’s and any other manufacturers of this product’s REMS supporting
                   document, as described in the FDA’s Draft Guidance “Format and Content of
                   Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
              e. FDA’s evaluation of the proposed REMS plan
              f. FDA’s evaluation of the proposed supporting document
              g. GSK’s and any other manufacturers of this product’s proposed modifications,
                   including elimination, to the approved REMS plan
              h. FDA’s correspondence to GSK and any other manufacturers of this product
                   approving or denying the modifications, including elimination, to the
                   approved REMS plan
              i. Any explanations by the FDA regarding their final decision about the REMS
                   plan
       2. All REMS Assessment Reports submitted by GSK and any other manufacturers of
          this product to the FDA, including:
              a. the one-year Assessment Report submitted in or around April 2009
              b. the two-year Assessment Report submitted in or around April 2010
              c. the three-year Assessment Report submitted in or around April 2011
              d. the four-year Assessment Report submitted in or around April 2012
              e. Any safety surveillance, drug utilization, and distribution monitoring data
                   submitted as part of a REMS Assessment Report
       3. All FDA reviews of REMS Assessment Reports returned to GSK and any other
          manufacturers of this product between April 2008 and August 2012.
       4. Any FDA REMS Modification Review reports sent to GSK and any other
          manufacturers of this product
       5. The FDA’s evaluation assessing whether a REMS is needed for Advair, including any
          FDA memoranda, and the written information used by FDA in the assessment,
          including any data.
       6. Any subsequent communication between the FDA and GSK and any other
          manufacturers of this product relating to all of the above




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 33 of 63



I request that all of these documents be produced in their native electronic formats with any
attached metadata included, so long as such electronic files can be opened using standard
commercially available software. If the files cannot be produced in this manner, I request that
records be produced in an alternative electronic format that is text-searchable. With respect to
databases, spreadsheets or similar organized sets of data, I request that the records be produced
in .xls or .csv format. See 5 U.S.C. § 552(a)(3)(B).


                              Application for Expedited Processing

I request expedited processing for this request pursuant to 5 U.S.C. § 552(a)(6)(E) and 21 C.F.R.
§ 20.44(a)(2).

Expedited processing is appropriate here because a compelling need exists for the disclosure of
the requested information. Shedding light on FDA’s internal processes for instituting (and
releasing) REMS is likely to have significant public health benefits, thereby reducing threats to
the life or physical safety of all individuals using FDA-approved drugs. The public interest is
heightened because REMS are implemented for unusually dangerous drugs where there is a
concern “to ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-
1. Clinicians, researchers, and the public at large will benefit from prompt access to the
requested information, to ensure that the Advair REMS and other REMS function well and that
patients are not being harmed by REMS that are over- or underprotective.

Pursuant to 5 U.S.C. § 552(a)(6)(E)(vi) and 21 C.F.R. § 20.44(a)(2), I certify that the information
in this request concerning the reasons for expedited processing is true and correct to the best of
my knowledge and belief.


                                 Application for Waiver of Fees

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) and 21 C.F.R. § 20.46, I request waiver of fees incurred
in connection with searching and copying in responding this request. I am requesting the waiver
on the grounds that disclosure of the requested information is in the public interest because it is
likely to contribute significantly to public understanding of the operations and activities of the
government and is not primarily in the commercial interest of the requester.


Disclosure is in the public interest:

Disclosure is in the public interest pursuant to 21 CFR § 20.46(b)(1) and (2) because this request
will shed light into operations or activities of the FDA that are not already public knowledge. As
noted above in the Background section, while the FDA has taken important steps during the past
decade to increase transparency regarding some elements of REMS programs, remarkably little
is known about how REMS programs are developed, implemented, and monitored, including
regarding the assessments that manufacturers of specific therapeutics have performed, or how
these assessments have been evaluated and used by the FDA to iteratively improve risk



                                                 3
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 34 of 63



mitigation of specific products. I will use this FOIA request to generate fundamental new
knowledge in the public domain regarding the adequacy of regulatory oversite of prescription
drugs through the REMS program, a topic that I believe will be of high interest to policy-makers,
researchers and the general public alike.

The circumstances surrounding the FDA’s decision to create a REMS for Advair are not public
knowledge, despite the drug’s importance. As noted above in the Background section, I am
interested in REMS documents to study the rationale that led to the FDA’s decision to release
Advair from its REMS but maintain a boxed warning on Advair’s label until it was removed in
2017.

Disclosure is also in the public interest pursuant to 21 CFR § 20.46(b)(3) and (4) because I plan
to disseminate the information I obtain from this request to the public through publication in
widely distributed, high-impact, peer-reviewed medical and public health journals, as well as
other media. I have an established track record of such publications, including publications
based on FOIA requests to FDA. Exemplary high-impact publications based on my
investigations include
    • Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
        FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
        Fentanyl Products. JAMA. 2019;321(7):676–685. doi:10.1001/jama.2019.0235
    • Moore TJ, Zhang H, Anderson G, Alexander GC. Estimated Costs of Pivotal Trials for
        Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
        2016. JAMA Intern Med. 2018;178(11):1451–1457.
        doi:10.1001/jamainternmed.2018.3931
    • Qato DM, Alexander GC. Post-Marketing Drug Safety and the Food and Drug
        Administration’s Risk Evaluation and Mitigation Strategies. JAMA. 2011;306:1595-1596.


The requester has no commercial interest in the information sought:

I have no commercial interest in the information sought. 45 C.F.R. § 5.54(b)(3). I am not in the
business of developing or selling new drugs or biologics, and I do not stand to make a profit from
the disclosure of the requested information. I have no commercial interest in these records, but
rather I aim to facilitate and conduct rigorous, objective, and fair evaluation of the information
sought in furtherance of public knowledge and public health.

For these reasons, a public interest waiver of fees is appropriate here. I therefore respectfully
request that all fees related to the search, review, and duplication of the requested records be
waived. If the search and review fees will not be waived, I ask that you contact me at the email
address listed below should the estimated fees resulting from this request exceed $100.


                                           Conclusion

Pursuant to applicable statutes and regulations, I anticipate a determination regarding expedited
processing within 10 days. See 5 U.S.C. § 552(a)(6)(E)(ii); 21 C.F.R. § 20.44(a)(2).


                                                4
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 35 of 63



If my request is denied in whole or in part, please justify all withholdings and redactions by
reference to specific FOIA exemptions. I expect the release of all segregable portions of
otherwise exempt material, see 5 U.S.C. § 552(b), and reserve the right to appeal a decision to
withhold any information or deny a waiver of fees.

Thank you for your prompt attention to this matter. Please direct communications and furnish the
applicable records to:

G. Caleb Alexander, MD, MS
Johns Hopkins Bloomberg School of Public Health
Department of Epidemiology
615 N. Wolfe Street W6035
Baltimore, MD 21205
Phone: 410 955 8168
Fax: 410 955 0863
Email: galexan9@jhmi.edu

Please communicate any questions you may have by phone or email, rather than regular mail.
Also, if the requested records cannot be provided by email, please notify me as soon as they are
available and I will consider arranging to collect them by courier to avoid additional delay.

Your prompt attention to this request is greatly appreciated.

Respectfully,




G. Caleb Alexander, MD, MS
Professor of Epidemiology and Medicine




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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 36 of 63




                      EXHIBIT F
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 37 of 63




May 21, 2019

Food and Drug Administration
Division of Freedom of Information
Office of Shared Services
Office of Public Information and Library Services
12420 Parklawn Drive
ELEM-1029
Rockville, MD 20857

Re:    FREEDOM OF INFORMATION ACT REQUEST

To Whom It May Concern:

My name is Caleb Alexander. I am a Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health. This letter constitutes a request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records related to the FDA REMS program
related to varenicline.

                                           Background

Risk Evaluation and Mitigation Strategies (REMS) of the Food and Drug Administration (FDA)
represent an important regulatory tool that the FDA uses to optimize the safe use of approved
therapeutics. As with any risk evaluation and mitigation program, the success of the REMS
depends critically upon the quality and comprehensiveness of data that is used to guide regulatory
decision-making. While the FDA has taken important steps during the past decade to increase
transparency regarding some elements of REMS programs, remarkably little is known regarding
the assessments that manufacturers of specific therapeutics have performed, or how these
assessments have been evaluated and used by the FDA to iteratively improve risk mitigation of
specific products. I will use this FOIA request to generate fundamental new knowledge in the
public domain regarding the adequacy of regulatory oversight of prescription drugs through the
REMS program, a topic that I believe will be of high interest to policy-makers, researchers and the
general public alike.

This request concerns the REMS for a particular drug, varenicline, marketed under the brand name
Chantix by Pfizer. Chantix (Varenicline) was subject to a REMS from 2009 to 2016 that required
a medication guide. From 2009 to 2016, the FDA also required a black box warning on the safety
label of Chantix about the risk of serious neuropsychiatric events, including suicidal ideation,
associated with its use. I am interested in the Chantix REMS documents to study the rationale that
led to the FDA’s decision to release Chantix from its REMS and how the implementation of a
medication guide impacted its safe use. I hope to learn the extent and quality of data sufficient to
       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 38 of 63



release a drug from its REMS requirement and are interested in discussions between the FDA and
sponsors about the quality of presented data and how they defined acceptable risk.


                                       Requested Records

I seek release of the following:

Any records relating to the REMS for varenicline (Chantix) including from 2008 through 2018:
       1. All correspondence between the FDA and Pfizer or any other manufacturer of
          varenicline including:
              a. FDA’s initial evaluation assessing whether a REMS is needed for varenicline
              b. FDA’s written correspondence explaining that a REMS is necessary
                       i. including the May 2008 FDA letter to Pfizer requiring a REMS and
                           issuing a post marketing requirement for a clinical trial to assess the
                           known serious risk of neuropsychiatric adverse events related to the
                           use of varenicline products
              c. Pfizer’s or any other manufacturer of varenicline’s proposed REMS plan, as
                   described in the FDA’s Draft Guidance “Format and Content of Proposed
                   Risk Evaluation and Mitigation Strategies (REMS), REMS Assessments, and
                   Proposed REMS Modifications”
              d. Pfizer’s or any other manufacturer of varenicline’s REMS supporting
                   document, as described in the FDA’s Draft Guidance “Format and Content of
                   Proposed Risk Evaluation and Mitigation Strategies (REMS), REMS
                   Assessments, and Proposed REMS Modifications”
              e. FDA’s evaluation of the proposed REMS plan
              f. FDA’s evaluation of the proposed supporting document
              g. Pfizer’s proposed modifications, including elimination, to the approved
                   REMS plan
                       i. including those submitted on November 8, 2013 and September 3,
                           2014
              h. FDA’s correspondence to Pfizer or any other manufacturer of varenicline’s
                   approving or denying the modifications, including elimination, to the
                   approved REMS plan
              i. Any explanations by the FDA regarding their final decision about the REMS
                   plan
       2. All REMS Assessment Reports submitted by Pfizer or any other manufacturer of
          varenicline’s to the FDA, including:
              a. The 18-month Report submitted in or around April 2011, the 3-year Report
                   submitted in or around October 2012, and the 7-year Report submitted in or
                   around October 2016.
              b. Any safety surveillance, drug utilization, and distribution monitoring data
                   submitted as part of a REMS Assessment Report
       3. All FDA reviews of REMS Assessment Reports returned to Pfizer or any other
          manufacturer of varenicline’s




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 39 of 63



       4. Any FDA REMS Modification Review reports sent to Pfizer or any other
          manufacturer of varenicline’s between October 2009 and December 2016, including
          the modification approved on October 15, 2014
       5. The FDA’s evaluation assessing whether a REMS is needed for varenicline, including
          any FDA memoranda, and the written information used by FDA in the assessment,
          including any data.
       6. Any subsequent communication between the FDA and Pfizer or any other
          manufacturer of varenicline’s relating to all of the above

I request that all of these documents be produced in their native electronic formats with any
attached metadata included, so long as such electronic files can be opened using standard
commercially available software. If the files cannot be produced in this manner, I request that
records be produced in an alternative electronic format that is text-searchable. With respect to
databases, spreadsheets or similar organized sets of data, I request that the records be produced
in .xls or .csv format. See 5 U.S.C. § 552(a)(3)(B).


                             Application for Expedited Processing

I request expedited processing for this request pursuant to 5 U.S.C. § 552(a)(6)(E) and 21 C.F.R.
§ 20.44(a)(2).

Expedited processing is appropriate here because a compelling need exists for the disclosure of
the requested information. Shedding light on FDA’s internal processes for instituting (and
releasing) REMS is likely to have significant public health benefits, thereby reducing threats to
the life or physical safety of all individuals using FDA-approved drugs. The public interest is
heightened because REMS are implemented for unusually dangerous drugs where there is a
concern “to ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-
1. Clinicians, researchers, and the public at large will benefit from prompt access to the
requested information, to ensure that the varencicline REMS and other REMS function well and
that patients are not being harmed by REMS that are over- or underprotective.

Pursuant to 5 U.S.C. § 552(a)(6)(E)(vi) and 21 C.F.R. § 20.44(a)(2), I certify that the information
in this request concerning the reasons for expedited processing is true and correct to the best of
my knowledge and belief.


                                 Application for Waiver of Fees

Pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) and 21 C.F.R. § 20.46, I request waiver of fees incurred
in connection with searching and copying in responding this request. I am requesting the waiver
on the grounds that disclosure of the requested information is in the public interest because it is
likely to contribute significantly to public understanding of the operations and activities of the
government and is not primarily in the commercial interest of the requester.




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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 40 of 63



Disclosure is in the public interest:

Disclosure is in the public interest pursuant to 21 CFR § 20.46(b)(1) and (2) because this request
will shed light into operations or activities of the FDA that are not already public knowledge. As
noted above in the Background section, while the FDA has taken important steps during the past
decade to increase transparency regarding some elements of REMS programs, remarkably little
is known about how REMS programs are developed, implemented, and monitored, including
regarding the assessments that manufacturers of specific therapeutics have performed, or how
these assessments have been evaluated and used by the FDA to iteratively improve risk
mitigation of specific products. I will use this FOIA request to generate fundamental new
knowledge in the public domain regarding the adequacy of regulatory oversite of prescription
drugs through the REMS program, a topic that I believe will be of high interest to policy-makers,
researchers and the general public alike.

The circumstances surrounding the FDA’s decision to create a REMS for varenicline are not public
knowledge. As noted above in the Background section, I am interested in the Chantix REMS
documents to study the rationale that led to the FDA’s decision to release Chantix from its REMS
and how the implementation of a medication guide impacted its safe use. I hope to learn the extent
and quality of data sufficient to release a drug from its REMS requirement and are interested in
discussions between the FDA and sponsors about the quality of presented data and how they
defined acceptable risk.

Disclosure is also in the public interest pursuant to 21 CFR § 20.46(b)(3) and (4) because I plan
to disseminate the information I obtain from this request to the public through publication in
widely distributed, high-impact, peer-reviewed medical and public health journals, as well as
other media. I have an established track record of such publications, including publications
based on FOIA requests to FDA. Exemplary high-impact publications based on my
investigations include
     Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
        FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
        Fentanyl Products. JAMA. 2019;321(7):676–685. doi:10.1001/jama.2019.0235
     Moore TJ, Zhang H, Anderson G, Alexander GC. Estimated Costs of Pivotal Trials for
        Novel Therapeutic Agents Approved by the US Food and Drug Administration, 2015-
        2016. JAMA Intern Med. 2018;178(11):1451–1457.
        doi:10.1001/jamainternmed.2018.3931
     Qato DM, Alexander GC. Post-Marketing Drug Safety and the Food and Drug
        Administration’s Risk Evaluation and Mitigation Strategies. JAMA. 2011;306:1595-1596.


The requester has no commercial interest in the information sought:

I have no commercial interest in the information sought. 45 C.F.R. § 5.54(b)(3). I am not in the
business of developing or selling new drugs or biologics, and I do not stand to make a profit from
the disclosure of the requested information. I have no commercial interest in these records, but
rather I aim to facilitate and conduct rigorous, objective, and fair evaluation of the information
sought in furtherance of public knowledge and public health.


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       Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 41 of 63




For these reasons, a public interest waiver of fees is appropriate here. I therefore respectfully
request that all fees related to the search, review, and duplication of the requested records be
waived. If the search and review fees will not be waived, I ask that you contact me at the email
address listed below should the estimated fees resulting from this request exceed $100.


                                           Conclusion

Pursuant to applicable statutes and regulations, I anticipate a determination regarding expedited
processing within 10 days. See 5 U.S.C. § 552(a)(6)(E)(ii); 21 C.F.R. § 20.44(a)(2).

If my request is denied in whole or in part, please justify all withholdings and redactions by
reference to specific FOIA exemptions. I expect the release of all segregable portions of
otherwise exempt material, see 5 U.S.C. § 552(b), and reserve the right to appeal a decision to
withhold any information or deny a waiver of fees.

Thank you for your prompt attention to this matter. Please direct communications and furnish the
applicable records to:

G. Caleb Alexander, MD, MS
Johns Hopkins Bloomberg School of Public Health
Department of Epidemiology
615 N. Wolfe Street W6035
Baltimore, MD 21205
Phone: 410 955 8168
Fax: 410 955 0863
Email: galexan9@jhmi.edu

Please communicate any questions you may have by phone or email, rather than regular mail.
Also, if the requested records cannot be provided by email, please notify me as soon as they are
available and I will consider arranging to collect them by courier to avoid additional delay.

Your prompt attention to this request is greatly appreciated.

Respectfully,




G. Caleb Alexander, MD, MS
Professor of Epidemiology and Medicine




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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 42 of 63




                      EXHIBIT G
            Case 1:22-cv-00108-BPG Document 1-16 April
                                       Wednesday, Filed28,
                                                        01/14/22     Page 43
                                                           2021 at 16:17:24    of 63
                                                                            Eastern Daylight Time


Subject: FDA Receipt of FOI Request
Date: Thursday, May 23, 2019 at 8:33:35 AM Eastern Daylight Time
From: FDA_FOI@fda.gov
To:      Caleb Alexander

Note: Do NOT reply directly to this E-mail

Johns Hopkins Bloomberg School of Public Health G. Caleb Alexander

Re: ConﬁrmaXon # FDA1953450
In Reply refer to: 2019-4472

The Food and Drug AdministraXon (FDA) has received your Freedom of InformaXon Act (FOIA) request for records
regarding:

REMS for zolpidem(Zolpimist/Edluar) from 2007 through 2013

Original Subject: Any records relaXng to the REMS for zolpidem(Zolpimist/Edluar) from 2007 through 2013 including:
1. All correspondence between the FDA and Aytu, Meda or any NDA for zolpidem (Zolpimist, Eluar) and any other
manufacturers of this product 2. All REMS Assessment Reports submiced by Aytu, Meda and any other manufactuer
of this product to the FDA 3. All FDA reviews of REMS Assessment Reports returned to Aytu, Meda and any other
manufactuer of this produc between December 2008 and September 2011. ...

We will respond as soon as possible and may charge you a fee for processing your request. If your informaXonal
needs change, and you no longer need the requested records, please contact us to cancel your request, as charges
may be incurred once processing of your request has begun. For more informaXon on processing fees, please see
hcp://www.fda.gov/RegulatoryInformaXon/FOI/FOIAFees/default.htm. If you have any quesXons about your
request, please call Rochelle A. Coleman, InformaXon Technician at (301) 796-8982 or write to us at:

Division of Freedom of InformaXon, U.S. Food and Drug AdministraXon
5630 Fishers Lane, Room 1035
Rockville, MD 20857
Fax:(301)827-9267

You also have the right to seek dispute resoluXon services from:

FDA FOIA Public Liaison
Oﬃce of the ExecuXve Secretariat
5630 Fishers Lane, Room 1050
Rockville, MD 20857

E-Mail: FDAFOIA@fda.hhs.gov and/or:

Oﬃce of Government InformaXon Services
NaXonal Archives and AdministraXon
8601 Adelphi Road ? OGIS
College Park, MD 20740-6001

Telephone: 202-741-5770
Toll-Free: 1-877-684-6448
E-mail: ogis@nara.gov
Fax: 202-741-5769


                                                                                                              Page 1 of 1
Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 44 of 63




                      EXHIBIT H
            Case 1:22-cv-00108-BPG Document 1-16 April
                                       Wednesday, Filed28,
                                                        01/14/22     Page 45
                                                           2021 at 16:16:18    of 63
                                                                            Eastern Daylight Time


Subject: FDA Receipt of FOI Request
Date: Thursday, May 23, 2019 at 8:24:50 AM Eastern Daylight Time
From: FDA_FOI@fda.gov
To:      Caleb Alexander

Note: Do NOT reply directly to this E-mail

Johns Hopkins Bloomberg School of Public Health G. Caleb Alexander

Re: ConﬁrmaYon # FDA1953444
In Reply refer to: 2019-4465

The Food and Drug AdministraYon (FDA) has received your Freedom of InformaYon Act (FOIA) request for records
regarding:

REMS for prasugrel (Eﬃent) from 2008 to 2014

Original Subject: Any records relaYng to the REMS for prasugrel (Eﬃent) from 2008 to 2014 including: 1. All
correspondence between the FDA and Lilly and any other manufacturer of this product 2. All REMS Assessment
Reports submibed by Lilly and any other manufacturer of this product to the FDA 3. All FDA reviews of REMS
Assessment Reports returned to Lilly and any other manufacturer of this product, including an review of the report
due January 31, 2011 4. Any FDA REMS ModiﬁcaYon Review reports sent to Lill...

We will respond as soon as possible and may charge you a fee for processing your request. If your informaYonal
needs change, and you no longer need the requested records, please contact us to cancel your request, as charges
may be incurred once processing of your request has begun. For more informaYon on processing fees, please see
hbp://www.fda.gov/RegulatoryInformaYon/FOI/FOIAFees/default.htm. If you have any quesYons about your
request, please call Rochelle A. Coleman, InformaYon Technician at (301) 796-8982 or write to us at:

Division of Freedom of InformaYon, U.S. Food and Drug AdministraYon
5630 Fishers Lane, Room 1035
Rockville, MD 20857
Fax:(301)827-9267

You also have the right to seek dispute resoluYon services from:

FDA FOIA Public Liaison
Oﬃce of the ExecuYve Secretariat
5630 Fishers Lane, Room 1050
Rockville, MD 20857

E-Mail: FDAFOIA@fda.hhs.gov and/or:

Oﬃce of Government InformaYon Services
NaYonal Archives and AdministraYon
8601 Adelphi Road ? OGIS
College Park, MD 20740-6001

Telephone: 202-741-5770
Toll-Free: 1-877-684-6448
E-mail: ogis@nara.gov
Fax: 202-741-5769


                                                                                                                Page 1 of 1
Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 46 of 63




                      EXHIBIT I
            Case 1:22-cv-00108-BPG Document 1-16 April
                                       Wednesday, Filed28,
                                                        01/14/22     Page 47
                                                           2021 at 16:18:50    of 63
                                                                            Eastern Daylight Time


Subject: FDA Receipt of FOI Request
Date: Thursday, May 23, 2019 at 7:52:48 AM Eastern Daylight Time
From: FDA_FOI@fda.gov
To:      Caleb Alexander

Note: Do NOT reply directly to this E-mail

Johns Hopkins Bloomberg School of Public Health G. Caleb Alexander

Re: ConﬁrmaZon # FDA1953440
In Reply refer to: 2019-4457

The Food and Drug AdministraZon (FDA) has received your Freedom of InformaZon Act (FOIA) request for records
regarding:

REMS for Mifepristone/Mifeprex/RU-486 from 2010 to present

Original Subject: Any records relaZng to the REMS for Mifepristone/Mifeprex/RU-486 from 2010 to present including:
1. All correspondence between the FDA and Danco Laboratories and any other manufacturers of this product 2. All
REMS Assessment Reports submided by Danco Laboratories and any other manufacturers of this product to the FDA
3. All FDA reviews of REMS Assessment Reports returned to Danco Laboratories and any other manufacturers of this
product 4. Any FDA REMS ModiﬁcaZon Review reports sent to Danco...

We will respond as soon as possible and may charge you a fee for processing your request. If your informaZonal
needs change, and you no longer need the requested records, please contact us to cancel your request, as charges
may be incurred once processing of your request has begun. For more informaZon on processing fees, please see
hdp://www.fda.gov/RegulatoryInformaZon/FOI/FOIAFees/default.htm. If you have any quesZons about your
request, please call Rochelle A. Coleman, InformaZon Technician at (301) 796-8982 or write to us at:

Division of Freedom of InformaZon, U.S. Food and Drug AdministraZon
5630 Fishers Lane, Room 1035
Rockville, MD 20857
Fax:(301)827-9267

You also have the right to seek dispute resoluZon services from:

FDA FOIA Public Liaison
Oﬃce of the ExecuZve Secretariat
5630 Fishers Lane, Room 1050
Rockville, MD 20857

E-Mail: FDAFOIA@fda.hhs.gov and/or:

Oﬃce of Government InformaZon Services
NaZonal Archives and AdministraZon
8601 Adelphi Road ? OGIS
College Park, MD 20740-6001

Telephone: 202-741-5770
Toll-Free: 1-877-684-6448
E-mail: ogis@nara.gov
Fax: 202-741-5769


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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 48 of 63




                      EXHIBIT J
            Case 1:22-cv-00108-BPG Document 1-16 April
                                       Wednesday, Filed28,
                                                        01/14/22     Page 49
                                                           2021 at 16:19:16    of 63
                                                                            Eastern Daylight Time


Subject: FDA Receipt of FOI Request
Date: Thursday, May 23, 2019 at 7:51:34 AM Eastern Daylight Time
From: FDA_FOI@fda.gov
To:      Caleb Alexander

Note: Do NOT reply directly to this E-mail

Johns Hopkins Bloomberg School of Public Health G. Caleb Alexander

Re: ConﬁrmaYon # FDA1953439
In Reply refer to: 2019-4455

The Food and Drug AdministraYon (FDA) has received your Freedom of InformaYon Act (FOIA) request for records
regarding:

REMS for clopidogrel (Plavix) from 2010 to 2013

Original Subject: Any records relaYng to the REMS for clopidogrel (Plavix) from 2010 to 2013 including: 1. All
correspondence between the FDA and BMS and any other manufacturers of this product 2. All REMS Assessment
Reports submi_ed by BMS or any other manufacturer of clopidogrel to the FDA 3. All FDA reviews of REMS
Assessment Reports returned to BMS 4. Any FDA REMS ModiﬁcaYon Review reports sent to BMS or any other
manufacturer of clopidogrel between February 2011 and May 2011 5. The FDA?s evaluaYon asse...

We will respond as soon as possible and may charge you a fee for processing your request. If your informaYonal
needs change, and you no longer need the requested records, please contact us to cancel your request, as charges
may be incurred once processing of your request has begun. For more informaYon on processing fees, please see
h_p://www.fda.gov/RegulatoryInformaYon/FOI/FOIAFees/default.htm. If you have any quesYons about your
request, please call Rochelle A. Coleman, InformaYon Technician at (301) 796-8982 or write to us at:

Division of Freedom of InformaYon, U.S. Food and Drug AdministraYon
5630 Fishers Lane, Room 1035
Rockville, MD 20857
Fax:(301)827-9267

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NaYonal Archives and AdministraYon
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College Park, MD 20740-6001

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Toll-Free: 1-877-684-6448
E-mail: ogis@nara.gov
Fax: 202-741-5769


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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 50 of 63




                      EXHIBIT K
            Case 1:22-cv-00108-BPG Document 1-16 April
                                       Wednesday, Filed28,
                                                        01/14/22     Page 51
                                                           2021 at 16:19:55    of 63
                                                                            Eastern Daylight Time


Subject: FDA Receipt of FOI Request
Date: Wednesday, May 22, 2019 at 9:07:12 PM Eastern Daylight Time
From: FDA_FOI@fda.gov
To:      Caleb Alexander

Note: Do NOT reply directly to this E-mail

Johns Hopkins Bloomberg School of Public Health G. Caleb Alexander

Re: ConﬁrmaWon # FDA1953437
In Reply refer to: 2019-4428

The Food and Drug AdministraWon (FDA) has received your Freedom of InformaWon Act (FOIA) request for records
regarding:

Any records relaWng to the REMS for Advair from 2007 to 2014

Original Subject: Any records relaWng to the REMS for Advair from 2007 to 2014 including: 1. All correspondence
between the FDA and GSK and any other manufacturers of this product 2. All REMS Assessment Reports submibed by
GSK and any other manufacturers of this product to the FDA 3. All FDA reviews of REMS Assessment Reports returned
to GSK and any other manufacturers of this product between April 2008 and August 2012. 4. Any FDA REMS
ModiﬁcaWon Review reports sent to GSK and any other manufacturers of thi...

We will respond as soon as possible and may charge you a fee for processing your request. If your informaWonal
needs change, and you no longer need the requested records, please contact us to cancel your request, as charges
may be incurred once processing of your request has begun. For more informaWon on processing fees, please see
hbp://www.fda.gov/RegulatoryInformaWon/FOI/FOIAFees/default.htm. If you have any quesWons about your
request, please call Rochelle A. Coleman, InformaWon Technician at (301) 796-8982 or write to us at:

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Rockville, MD 20857
Fax:(301)827-9267

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Rockville, MD 20857

E-Mail: FDAFOIA@fda.hhs.gov and/or:

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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 52 of 63




                      EXHIBIT L
            Case 1:22-cv-00108-BPG Document 1-16 April
                                       Wednesday, Filed28,
                                                        01/14/22     Page 53
                                                           2021 at 16:18:17    of 63
                                                                            Eastern Daylight Time


Subject: FDA Receipt of FOI Request
Date: Thursday, May 23, 2019 at 7:53:08 AM Eastern Daylight Time
From: FDA_FOI@fda.gov
To:      Caleb Alexander

Note: Do NOT reply directly to this E-mail

Johns Hopkins Bloomberg School of Public Health G. Caleb Alexander

Re: ConﬁrmaYon # FDA1953447
In Reply refer to: 2019-4458

The Food and Drug AdministraYon (FDA) has received your Freedom of InformaYon Act (FOIA) request for records
regarding:

REMS for varenicline (ChanYx) including from 2008 through 2018

Original Subject: Any records relaYng to the REMS for varenicline (ChanYx) including from 2008 through 2018: 1. All
correspondence between the FDA and Pﬁzer or any other manufacturer of varenicline 2. All REMS Assessment
Reports submiaed by Pﬁzer or any other manufacturer of varenicline?s to the FDA 3. All FDA reviews of REMS
Assessment Reports returned to Pﬁzer or any other manufacturer of varenicline?s 4. Any FDA REMS ModiﬁcaYon
Review reports sent to Pﬁzer or any other manufacturer of varenicline?s b...

We will respond as soon as possible and may charge you a fee for processing your request. If your informaYonal
needs change, and you no longer need the requested records, please contact us to cancel your request, as charges
may be incurred once processing of your request has begun. For more informaYon on processing fees, please see
hap://www.fda.gov/RegulatoryInformaYon/FOI/FOIAFees/default.htm. If you have any quesYons about your
request, please call Rochelle A. Coleman, InformaYon Technician at (301) 796-8982 or write to us at:

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Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 54 of 63




                      EXHIBIT M
            Case 1:22-cv-00108-BPG Document 1-16 Filed 01/14/22 Page 55 of 63

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